   Case: 4:15-cv-00826-RWS Doc. #: 1 Filed: 05/26/15 Page: 1 of 3 PageID #: 1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI

MANDY STRAND,                                     )
                                                  )
               Plaintiff,                         )
                                                  )
       vs.                                        )
                                                  )   Case No. ____________________
MEDICREDIT, INC.,                                 )
                                                  )
               Defendant.                         )


                                    NOTICE OF REMOVAL

       Defendant Medicredit, Inc. (“Medicredit”) timely files this Notice of Removal pursuant

to 28 U.S.C. §§ 1331, 1441, and 1446, removing this action from the City of St. Louis Circuit

Court, Associate Division, to the United States District Court for the Eastern District of

Missouri, and in support of this Notice, states as follows:

       1.      On April 12, 2015, Plaintiff Mandy Strand (“Plaintiff”) filed a Complaint

(hereinafter “Complaint”) against Defendant Medicredit in City of St. Louis Circuit Court,

Associate Division, State of Missouri (the “State Court”). The Complaint contains a claim

alleging violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq.

       2.      Pursuant to 28 U.S.C. § 1446(a), a copy of the Complaint is attached as Exhibit

A; a copy of the County Court Summons is attached as Exhibit B; and a copy of proof of service

on Medicredit, Inc. is attached as Exhibit C.

       3.      Plaintiff served Medicredit with the summons on April 23, 2015. Accordingly,

Medicredit timely files this Notice within the 30-day limit established by § 1446(b)(1).
   Case: 4:15-cv-00826-RWS Doc. #: 1 Filed: 05/26/15 Page: 2 of 3 PageID #: 2




       4.      The United States District Court for the Eastern District of Missouri has original

jurisdiction over this matter under 28 U.S.C. § 1331 because Plaintiff’s Complaint implicates the

Court’s federal question jurisdiction, specifically the federal Fair Debt Collection Practices Act

(“FDCPA”), 15 U.S.C. § 1692 et seq. Ex. A ¶¶ 1, 17, 24, 28, 48.

       5.      Removal to the United States District Court for the Eastern District of Missouri is

proper under 28 U.S.C. § 1441(a), which provides that any civil action brought in a County

and/or State Court where the District Courts of the United States have original jurisdiction is

removable to the Division of the United States District Court embracing the place where such

action is pending.

       6.      Accordingly, this Court has subject matter jurisdiction over this action, and this

case is properly removed to this Court.

       7.      As required by 28 U.S.C. § 1446(a), true and correct copies of all process,

pleadings, and orders served upon Defendant are attached as Exhibit D.

       8.      As required by 28 U.S.C. § 1446(d), written notice of the filing of this Notice of

Removal will be promptly served on Plaintiffs’ counsel.

       9.      As required by 28 U.S.C. § 1446(d), Medicredit has filed a Notice of Filing of the

Notice of Removal with the City of St. Louis Circuit Court, Associate Division, State of

Missouri.

       WHEREFORE, Defendant Medicredit, Inc. gives notice that the above-entitled action is

removed and transferred forthwith from the City of St. Louis Circuit Court, Associate Division,

State of Missouri to the United States District for the Eastern District of Missouri.




                                                  2
   Case: 4:15-cv-00826-RWS Doc. #: 1 Filed: 05/26/15 Page: 3 of 3 PageID #: 3




Dated: May 26, 2015                           By: s/ Scott J. Dickenson, Esq.
                                              Scott J. Dickenson
                                              Patricia L. Silva
                                              LATHROP & GAGE LLP
                                              7701 Forsyth Blvd
                                              Suite 500
                                              Clayton, MO 63105
                                              T: (314) 613-2800
                                              F: (314) 613-2801
                                              E: sdickenson@lathropgage.com
                                                 psilva@lathropgage.com

                                                Attorneys for Defendant Medicredit, Inc.


                                 CERTIFICATE OF SERVICE


        I hereby certify that on May 26, 2015, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system which will send notification of such filing to the
following:

       Richard Anthony Voytas
       1 North Taylor Ave.
       St. Louis, MO 63108
       Attorney for Plaintiff

                                              s/ Scott J. Dickenson




                                                 3
